   Case: 4:20-cv-01017-JAR Doc. #: 1 Filed: 08/03/20 Page: 1 of 14 PageID #: 1




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION


 Hannah Chobanian, individually and
 on behalf of all other similarly
 situated Missouri citizens,
                                            Civil Action No.     ____________
                     Plaintiff,
 v.

 SFC Global Supply Chain, Inc.,

                     Defendant.



                              NOTICE OF REMOVAL

      PLEASE TAKE NOTICE, that Defendant SFC Global Supply Chain, Inc.,

(“SFC” or “Defendant”), pursuant to 28 U.S.C. §§ 1332, 1446, & 1453, hereby

removes the putative class action pending in the Circuit Court of the City of St.
Louis, Missouri, Case No. 2022-CC01177, to the United States District Court for

the Eastern District of Missouri, Eastern Division. As grounds for removal, SFC

respectfully states as follows:

                                  THE REMOVED CASE
      1.     The removed case is a civil action commenced by the filing of a

Petition, entitled, Hannah Chobanian, individually and on behalf of all other similarly

situated Missouri citizens, v. SFC Global Supply Chain, Inc., Case No. 2022-CC01177

(the “Removed Case”), on or about June 18, 2020. Plaintiff Hannah Chobanian

(“Plaintiff”) served SFC Global Supply Chain, Inc. with a Summons and Petition

via registered agent on July 7, 2020, and served the Summons and Petition a
   Case: 4:20-cv-01017-JAR Doc. #: 1 Filed: 08/03/20 Page: 2 of 14 PageID #: 2




second time on July 15, 2020.
      2.     Plaintiff, individually and allegedly on behalf of all other similarly

situated Missouri citizens, purports to challenge SFC’s labeling and product

descriptions for several kinds of Red Baron-brand frozen pizzas, specifically Red

Baron’s Brick Oven Cheese Trio Pizza, Classic Crust Four Cheese Pizza, and Thin

and Crispy Five Cheese Pizza (the “Pizzas”). Plaintiff alleges that SFC’s

description that the Pizzas have “Preservative Free Crust” and “No Artificial
Flavors” are false and misleading to consumers. (Petition ¶¶ 21-32.)

      3.     Plaintiff’s Petition includes three counts.

                 a. In Count I of the Petition, Plaintiff alleges that SFC violated

                    the Missouri Merchandising Practices Act (“MMPA”), Mo.

                    Rev. Stat. §§ 407.020, 407.025.

                 b. In Count II, Plaintiff alleges Breach of Express Warranty.

                 c. In Count III, Plaintiff alleges Unjust Enrichment.

      4.     Plaintiff’s Prayer for Relief in the Removed Case requests class

certification, damages, disgorgement, restitution, pre- and post-judgment

interest, and attorney’s fees. (Id. pp. 12-13.)

      5.     There have been no proceedings before the State Court in connection

with the Removed Case, and there has been no previous application made for the

relief requested by this Notice of Removal.

                      PAPERS FROM THE REMOVED CASE
      6.     Pursuant to 28 U.S.C. §1446(a) and Local Rules 2.03 and 2.02, copies

of the following are attached to this Notice of Removal:

                 a. The complete file from the State Court, all summons and


                                            2
        Case: 4:20-cv-01017-JAR Doc. #: 1 Filed: 08/03/20 Page: 3 of 14 PageID #: 3




                          return of summons (if any), process, pleadings and orders
                          served upon SFC in the Removed Case, are attached hereto as

                          Exhibit A.

                      b. The Original Filing Form/Designation Sheet is attached

                          hereto as Exhibit B.

                      c. The Civil Cover Sheet is attached hereto as Exhibit C.

                      d. The Notice of Filing Notice of Removal is attached hereto as
                          Exhibit D.

                                 GROUNDS FOR REMOVAL


 I.      Removal is Timely.

            7.     The Petition in the Removed Case was served on SFC on or about

      July 7, 2020, and again on July 15, 2020. (See Exhibit A (Summonses).)

      Accordingly this Notice of Removal has been properly filed within thirty (30)

      days following the service of the Petition, the initial pleading setting forth the
      claims for relief upon which this action is based, and is therefore timely under 28

      U.S.C. § 1446(b).

II.      The Court Has Jurisdiction over the Removed Case.

            8.     Removal of a state court action to federal court is proper when the

      district court possesses original jurisdiction. 28 U.S.C. § 1441(a). This Court has

      original diversity jurisdiction over the Removed Case under the Class Action
      Fairness Act (“CAFA”), 28 U.S.C. §§ 1332(d), 1453. As set forth below, the

      Removed Case is a civil action in which (a) SFC is a citizen of a different State

      than Plaintiff and one or more members of the putative class, (b) the putative

      class consists of more than 100 members, and (c) the amount in controversy
                                                 3
   Case: 4:20-cv-01017-JAR Doc. #: 1 Filed: 08/03/20 Page: 4 of 14 PageID #: 4




exceeds the sum or value of $5,000,000. 28 U.S.C. § 1332(d).
       9.    A notice of removal need only provide “a short and plain statement

of the grounds for removal.” 28 U.S.C. § 1446(a). The rule governing the content

of a notice of removal, 28 U.S.C. § 1446, “[t]racks the general pleading

requirements stated in [Fed. R. Civ. P.] 8(a),” and submissions of proof is only

necessary if the allegations in the notice of removal are contested. Dart Cherokee

Basin Operating Co., LLC v. Owens, 135 S. Ct. 547, 553-54 (2014); see also Pudlowski
v. The St. Louis Rams, LLC, 829 F.3d 963, 965 (8th Cir. 2016) (same). The

requirements for removal are satisfied here.

   A. Minimal Diversity Is Satisfied.
       10.   Original jurisdiction under CAFA exists when the parties in a class

action are minimally diverse, including when “any member of a class of plaintiffs

is a citizen of a State different from any defendant.” 28 U.S.C. § 1332(d)(2)(A).

       11.   SFC: For purposes of diversity jurisdiction, corporations are deemed

to be citizens of their state of incorporation and the location of their principal

place of business. 28 U.S.C. § 1332(c). SFC is a Minnesota corporation with its

principal place of business in Marshall, Minnesota. (Petition ¶ 11.)

       12.   Plaintiff: Plaintiff alleges in her Petition that she is a “Missouri

citizen” residing in the City of St. Louis, Missouri. (Id.)
       13.   The Proposed Class: Plaintiff seeks to represent a class of all current

Missouri citizens who purchased any of the Pizzas for personal, family, or

household purposes in the five years preceding the filing of the Petition. (Id. ¶
33.)

       14.   The minimal diversity requirements of CAFA are satisfied, and in


                                           4
   Case: 4:20-cv-01017-JAR Doc. #: 1 Filed: 08/03/20 Page: 5 of 14 PageID #: 5




fact complete diversity exists, because SFC is a citizen of Minnesota and Plaintiff
and members of the putative class are citizens of Missouri.

      15.    SFC is not a citizen of the State in which the action was originally

filed. See 28 U.S.C. § 1332(d)(4)(A)(i)(II)(cc).

   B. The Removed Case Purports to Be Brought on behalf of a Class with at
      least 100 Members.
      16.    The Removed Case purports to be brought by Plaintiff on behalf of
“all similarly situated Missouri citizens,” defined to include citizens that

purchased any of the Pizzas over the last five years. (Petition p. 1 & ¶ 33.)

      17.    Plaintiff alleges that the “Class consists of hundreds of purchasers.”
(Id. ¶ 35.) In fact, SFC sold over 3.2 million of the Pizzas to retailers located in

Missouri during the 5-year period from July 2015 to June 2020.

      18.    By any reasonable estimate, the proposed class includes at least tens

of thousands of members, easily satisfying CAFA’s jurisdictional requirement of

at least 100 members.

   C. The Removed Case Satisfies the CAFA Threshold Amount in
      Controversy.
      19.    As required by 28 U.S.C. § 1332(d)(2), the amount in controversy in

the Removed Case exceeds the sum or value of $5,000,000, taking into account

damages and attorney’s fees, exclusive of interest and costs.

      20.    In assessing this requirement, “the question is not whether the
damages are greater than the requisite amount, but whether a fact finder might

legally conclude that they are.” Hargis v. Access Capital Funding, LLC, 674 F.3d

783, 789 (8th Cir. 2012) (emphasis in original).

      21.    Plaintiff conspicuously drafted her Petition to attempt to avoid


                                            5
  Case: 4:20-cv-01017-JAR Doc. #: 1 Filed: 08/03/20 Page: 6 of 14 PageID #: 6




removal by attempting to reduce the amount in controversy below the
jurisdictional minimum:

                a. First, Plaintiff alleges that the value of each class member’s

                   individual damages claim is, at most, the purchase price they

                   paid for the Pizzas, which Plaintiff alleges were sold for $3.99

                   each. (Petition ¶¶ 11 & 14.)

                b. Second, Plaintiff makes a conclusory allegation that because
                   her individual claim is typical of all class members, the total

                   damages, inclusive of costs and attorneys’ fees, is “far less

                   than the five million dollar ($5,000,000) minimum threshold to

                   create federal jurisdiction [under CAFA].” (Id. ¶ 15).

                c. Third, although claimants under the Missouri Merchandising

                   Practices Act may be entitled to punitive damages under Mo.

                   Rev. Stat. § 407.025, in a continued attempt to plead around

                   federal jurisdiction Plaintiff further alleges that neither she nor

                   the proposed class members will seek punitive damages or

                   statutory penalties. (Id. ¶ 20).

                d. Plaintiff goes on to conclude that there “is therefore no

                   diversity or CAFA jurisdiction for this case.” (Petition ¶ 16

                   (emphasis added).)

      22.    As stated above, Plaintiff seeks up to a full “refund of the purchase

price” on behalf of all Missouri citizens who purchased Pizzas for personal or
household use from June 22, 2015 to June 22, 2020. (Petition ¶ 33.) Plaintiff

alleges that that the purchase price for the pizza she bought was $3.99 and that


                                          6
    Case: 4:20-cv-01017-JAR Doc. #: 1 Filed: 08/03/20 Page: 7 of 14 PageID #: 7




the “value of Plaintiff’s claim is typical of all class members with respect to the
value of the claim.” (Id. ¶¶ 11, 15.) During the July 2015 to June 2020 period, SFC

sold 3,399,657 Pizzas to retailers located in Missouri. A full refund of the alleged

$3.99 purchase price for 3,399,657 Pizzas sold to Missouri retailers during the

five-year period, which is a reasonable estimate of the volume purchased by the

putative class, would result in refund damages of $13,564,631, exceeding the

jurisdictional minimum.1


1 See Raskas, 719 F.3d at 886-88 (total sales figures in Missouri during five-year
class period for medications underlying MMPA class action was appropriate
method for determining amount in controversy, even though plaintiffs sought
recovery on only a subset of those medication sales) (information “detailing the
total sales of their respective medications in Missouri meets the amount in
controversy requirement,” because “Defendants are not required to provide a
‘formula or methodology for calculating the potential damages’ more
accurately”); Embry v. Ventura Foods, LLC, No. 4:19-cv-2773SNLJ, 2020 WL
3077058, at *2 (E.D. Mo. June 10, 2020) (where MMPA putative class
representative alleged “that the total value of [her] individual claim is, at most,
equal to . . . the refund of the purchase price paid,” multiplying plaintiff’s alleged
purchase price times the number of units defendant sold to Missouri retailers
met defendant’s burden of establishing potential damages for purposes of
amount in controversy calculation); Harrington Enterp., Inc. v. Safety-Kleen Sys.,
Inc., 42 F. Supp. 3d 1197, 1198, 1199-1200 (W.D. Mo. 2013) (in MMPA class action
alleging that fuel surcharge was an unlawful fee, total amount of fees collected
from the class was an appropriate measure of compensatory damages for
determining amount in controversy under CAFA); Baker v. NNW, LLC, No. 15-
00222-CV-W-GAF, 2015 WL 12843831, at *2 (W.D. Mo. June 1, 2015) (using total
sales figure for product in Missouri during alleged class period in calculating
amount in controversy for class action alleging claims for violation of the MMPA
and unjust enrichment); Wright v. Bath & Body Works Direct, Inc., No. 12-00099,
CW-W-DW, 2012 WL 1291921, at *1-2 (W.D. Mo. July 10, 2012) (using total retail
sales figure of product in Missouri during the alleged class period to determine
amount in controversy under CAFA in class action asserting claims under
MMPA for sale of defective “room fragrance devices”).

                                          7
  Case: 4:20-cv-01017-JAR Doc. #: 1 Filed: 08/03/20 Page: 8 of 14 PageID #: 8




      23.    In addition, both statutory attorneys’ fees and punitive damages
count toward the jurisdictional minimum for diversity jurisdiction. Crawford v. F.

Hoffman-La Roche Ltd., 267 F.3d 760, 766 (8th Cir. 2011).

      24.    Here, Plaintiff asserts a claim and seeks attorneys’ fees under the

MMPA, Mo. Rev. Stat. § 407.025, which the Court “may award . . . based on the

amount of time reasonably expended.” Mo. Rev. Stat. 407.025. In similar actions,

this Court and other courts have concluded that up to 40% of compensatory
damages can be used to estimate potential attorney’s fees as a component of the

potential amount in controversy. See Albright v. Lamb Weston, Inc., No. 17-cv-

02881-HEA, slip op. at 8 (E.D. Mo. Aug. 6, 2018) (Autrey, J) (including “the

possible attorney’s fees at a rate of 33-40% of the actual damages” in the amount

in controversy); Knowles v. Standard Fire Ins. Co., No. 4:11-cv-04044, 2013 WL

3968490, at *6 (W.D. Ark. Aug. 2, 2013) (“The Court finds that it is reasonable to

use a 40% multiplier to estimate attorney's fees for the amount in controversy in

this case” under the Arkansas Deceptive Trade Practices Act); see also Faltermeier

v. FCA, LLC, 899 F.3d 617, 622 (8th Cir. 2018) (affirming determination in putative

class action that “attorneys’ fees could exceed $1.4 million” under the MMPA

based on alleged damages of $3,605,010—a 39% rate); Berry v. Volkswagen Grp. of

America, Inc., 397 S.W.3d 425 (Mo. 2013) (en banc) (affirming over $6.1 million

attorney’s fee award in automobile defect class action where the actual recovery

by the class was $125,261). A potential 40% fee award on a purchase-price refund

measure of compensatory damages would be $5,425,853, increasing the amount
in controversy to $18,990,484, far in excess of the jurisdictional minimum.

      25.    By comparison, although Plaintiff’s $3.99-per-Pizza damages


                                          8
  Case: 4:20-cv-01017-JAR Doc. #: 1 Filed: 08/03/20 Page: 9 of 14 PageID #: 9




allegation controls for purposes of determining the amount in controversy,
available sales data from Information Resources, Inc. (“IRI”), shows that the

actual Missouri sales volume of the Red Baron Pizzas between July 6, 2015 and

June 28, 2020 (a period that is virtually identical to, but slightly smaller than, the

class period alleged in the complaint) was $12,328,702. Adding Missouri’s 1.225%

sales tax to that total would result in an aggregate refund of $12,479,729. Adding

40% attorneys’ fees to even this amount would yield an award of $17,471,620,
exceeding the jurisdictional minimum. Cf. Faltermeier, 899 F.3d at 622 (possible

compensatory damages of $3,605,010 established amount in controversy due to

possible MMPA attorneys’ fees); see also Kerr v. Ace Cash Experts, Inc., No. 4:10-

CV-1694, 2010 WL 5177977, at *1 (E.D. Mo. Dec. 14, 2010) (actual damages claim

of at least $594,000 met the CAFA threshold because “similar amounts have been

held to satisfy the amount in controversy requirement in similar cases because of

the potential for punitive damages and attorney’s fees.”); Baker, 2015 WL

12843831 at *1 (denying plaintiff’s motion to remand and finding that a standard

award of attorney’s fees, a potential punitive damage award of 3.02 times

compensatory damages, and potential compensatory damages of $645,702.33 met

jurisdictional requirements); Wright, 2012 WL 1291921, at *1-2 (amount in

controversy satisfied for CAFA removal in class action asserting claims under

MMPA for sale of defective “room fragrance devices” where “total retail sales”

of the product in Missouri during the relevant period were $1,067,969);

Harrington Enterp., 42 F. Supp. 3d at 1201 (amount in controversy exceed
$5,000,000 based actual damage estimated to be $716,330); Brown v. City Chevrolet,

LLC, No. 09–0642–CV–W–GAF, 2009 WL 3485833, at *1 (W.D. Mo. Oct. 28, 2009)


                                           9
 Case: 4:20-cv-01017-JAR Doc. #: 1 Filed: 08/03/20 Page: 10 of 14 PageID #: 10




(amount in controversy requirement met under CAFA where potential actual
damages were approximately $1,004,099); Bass v. Carmax Auto Superstores, Inc.,

No. 07–0883–CV–W–ODS, 2008 WL 441962, at *2 (W.D. Mo. Feb. 14, 2008)

(amount in controversy requirement met under CAFA where potential actual

damages were approximately $658,431).

      26.    The possibility of punitive damages, which the Court has discretion

to award under the MMPA, Mo. Rev. Stat. 407.025, only adds to the already
sufficient amount in controversy, despite Plaintiff’s effort to disclaim such

damages on behalf of the putative class. As this Court recently held in Embry v.

Ventura Foods, LLC, a putative class representative asserting an MMPA claim

cannot avoid CAFA removal by disclaiming punitive damages in her complaint.

No. 4:19-CV-2773 SNLJ, 2020 WL 3077058, at *3 (E.D. Mo. June 10, 2020) (citing

Standard Fire Insurance Co. v. Knowles, 568 U.S. 588, 593 (2013)). While Plaintiff is

free to cap her own claims, she is unable to bind absent class members to a

specific amount in controversy. Standard Fire, 568 U.S. at 593; CMH Homes v.

Goodner, 729 F.3d 832, 838 (8th Cir. 2013). “It is thus not improper to consider the

possibility of punitive damages despite plaintiff’s disclaimer in light of the fact

that they are available under the statute.” Embry, 2020 WL 3077058, at *2; but cf.

Waters v. Ferrara Candy Co., 873 F.3d 633, 636 (8th Cir. 2017) (observing in dicta

that punitive damages were not in controversy because the plaintiff did not seek

them).

      27.    Missouri law limits punitive damages awards in this context to “five
times the net amount of the judgment awarded to the plaintiff against the

defendant.” Mo. Rev. Stat. § 510.265; see also Hervey v. Mo. Dept. of Corr., 379


                                          10
           Case: 4:20-cv-01017-JAR Doc. #: 1 Filed: 08/03/20 Page: 11 of 14 PageID #: 11




       N.W.2d 156, 165 (Mo. 2012) (en banc) (“net amount of the judgment” includes
       both damages and attorneys’ fees). Using a 5X compensatory damages multiplier

       to approximate the maximum punitive damages award as this Court recently did

       in Embry, 2020 WL 3077058, at *2,2 the amount in controversy would exceed $90
       million under Plaintiff’s $3.99-per-Pizza pleaded damages theory and would

       exceed $85 million when applying SFC’s sales estimates.

               28.   Because the requirements for this Court’s original jurisdiction are

       satisfied, removal of this action is proper.

III.        Venue Is Proper in this District.

               29.   Venue in this Court and this District is proper under 28 U.S.C.
       § 1404(a) because this Court is the Federal Court for the District and Division

       corresponding to the Circuit Court of the City of St. Louis, Missouri, where the

       Removed Case is pending.

                                FILING OF REMOVAL PAPERS

               30.   Pursuant to 28 U.S.C. § 1446(d), written notice of removal of the

       Removed Case is being given simultaneously to Plaintiff’s counsel, and a Notice

       of Filing Notice of Removal is being filed with the State Court. SFC will file

       copies of the aforementioned Notices in this Court upon serving the same upon

       Plaintiff’s counsel and the State Court. See Local Rule 2.03.

               31.   By removing this Action, SFC does not waive any rights or defenses

       available under federal or state law. SFC also does not waive, and expressly



       2 Cf. Grabinski v. Blue Springs Ford Sales, Inc., 203 F.3d 1024, 1026 (8th Cir. 2000)
       (affirming punitive damages award under MMPA in egregious case where “the
       ratio of the collective punitive damages to the collective actual damages [was]
       approximately 27:1”).
                                                 11
 Case: 4:20-cv-01017-JAR Doc. #: 1 Filed: 08/03/20 Page: 12 of 14 PageID #: 12




reserves, any arguments in opposition to class certification and all arguments
and defenses supporting dismissal of the complaint in the Removed Case under

Rule 12 of the Federal Rules of Civil Procedure or any similar Missouri Rule or

statute, to the extent removal is denied. Similarly, the statements in this Notice

should not be construed as an admission that Plaintiff’s allegations have any

merit or are sufficient to state a claim, nor should it be deemed an admission of

liability and/or that Plaintiff or any other putative class members have been
damaged or are entitled to any payment.


      WHEREFORE Defendant SFC Global Supply Chain, Inc. hereby removes

this case to the United States District Court for the Eastern District of Missouri,

Eastern Division; requests that no further proceedings be had in the Circuit

Court of the City of St. Louis, Missouri; and, further, requests that this Court

grant such other and further relief as it deems just and proper.




                                         12
 Case: 4:20-cv-01017-JAR Doc. #: 1 Filed: 08/03/20 Page: 13 of 14 PageID #: 13




                          Respectfully submitted,

DATED: August 3, 2020    By: /s/ Michael L. Jente

                              LEWIS RICE LLC
                              Michael L. Jente, #62980(MO)
                              Neal F. Perryman, #43057(MO)
                              600 Washington Avenue, Suite 2500
                              St. Louis, Missouri 63101
                              T: (314) 444-7600
                              mjente@lewisrice.com
                              nperryman@lewisrice.com


                                   -and-

                              ROBINS KAPLAN LLP
                              Stephen P. Safranski (pro hac vice forthcoming)
                              Geoffrey H. Kozen (pro hac vice forthcoming)
                              Amira A. ElShareif (pro hac vice forthcoming)
                              800 LaSalle Avenue
                              Minneapolis, Minnesota 55402
                              T: (612) 349-8500
                              F: (612) 339-4181
                              ssafranski@robinskaplan.com
                              gkozen@robinskaplan.com
                              aelshareif@robinskaplan.com

                              Attorneys for Defendant SFC Global Supply
                              Chain, Inc.




                                      13
 Case: 4:20-cv-01017-JAR Doc. #: 1 Filed: 08/03/20 Page: 14 of 14 PageID #: 14




                            CERTIFICATE OF SERVICE

      I hereby certify that, on August 3, 2020, a copy of the foregoing was served
via e-mail and U.S. mail, first-class postage prepaid, addressed to the following
counsel of record for Plaintiff:

      Matthew H. Armstrong
      ARMSTRONG LAW FIRM LLC
      8816 Manchester Rd., No. 109
      St. Louis, MO 63144
      matt@mattarmstronglaw.com

      and

      Stuart L. Cochran
      STECKLER GRESHAM COCHRAN PLLC
      12720 Hillcrest Rd., Ste. 1045
      Dallas, TX 75230
      stuart@sgc.law

      Attorneys for Plaintiff

                                             /s/ Michael L. Jente




                                        14
